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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

VS.                                                          CRIMINAL NO. 5:01-CR-15-DCB

MARTIN DEWAYNE ALLEN                                                            DEFENDANT

                        ORDER ALLOWING REMISSION ON FINE

       This cause came on for consideration on United States’ Motion for Remission of Fine

[#64] in accordance with the provisions of 18 U.S.C. § 3573.

       The Court has considered the Motion and finds that it is well taken and should be

granted.

       Wherefore, all of the unpaid portion of the fine imposed on May 6, 2002, is hereby

remitted.

       SO ORDERED this the        27th     day of   June    , 2016.


                                         _____s/David Bramlette__________________
                                         HONORABLE DAVID C. BRAMLETTE, III
                                         UNITED STATES DISTRICT JUDGE
